       Case 1:11-cr-00026-LJO Document 315 Filed 01/21/14 Page 1 of 2


     JOHN F. GARLAND #117554
 1   Attorney at Law
     1713 Tulare Street, Suite 221
 2   Fresno, California 93721
 3   Telephone: (559) 497-6132
     Facsimile: (559) 579-1530
 4
     Attorney for Defendant,
 5   JAYSON PETER COSTA
 6
 7                       IN THE UNITED STATES DISTRICT COURT FOR THE
 8                               EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                                 Case No. 1:11-CR-00026 LJO-SKO

11           Plaintiff,                                        STIPULATION TO CONTINUE
                                                               SENTENCING HEARING
12                  v.                                         AND ORDER THEREON

13   JAYSON PETER COST A,                                      Date: March 24, 2014
                                                               Time: 10:30 a.m.
14          Defendant.                                         Courtroom Four
                                                               Honorable Lawrence J. O’Neill
15
16          Defendant, JAYSON PETER COSTA, through his counsel, John F. Garland and the

17   United States of America, through its counsel, Benjamin B. Wagner, United States Attorney
18
     and Kirk E. Sherriff, Assistant United States Attorney, hereby stipulate to continue the
19
     defendant’s sentencing hearing from February 18, 2014 to March 24, 2014 at 10:30 a.m. This
20
     continuance is necessary to allow the United States Probation Office sufficient time to
21
22   complete the Presentence Investigation Report due to difficulties in scheduling the defendant’s

23   pre-sentence interview.
24
25
     Dated: January 21, 2014                                          /s/ John F. Garland
26                                                                      John F. Garland
                                                                    Attorney for Defendant
27                                                                    Jayson Peter Costa
28
                                                          1
     ___________________________________________________________________________________________________________________
       Case 1:11-cr-00026-LJO Document 315 Filed 01/21/14 Page 2 of 2



 1
 2
     Dated: January 21, 2014                                     Benjamin B. Wagner
 3                                                               United States Attorney

 4                                                                 /s/ Kirk E. Sherriff
                                                              By: KIRK E. SHERRIFF
 5
                                                                  Assistant U.S. Attorney
 6
 7
                                                        ORDER
 8
 9
                       GOOD CAUSE APPEARING, based on the stipulation of the parties,
10
     IT IS HEREBY ORDERED that the sentencing hearing for defendant JAYSON PETER
11
12   COSTA is continued to March 24, 2014 at 10:30 a.m.

13
     IT IS SO ORDERED.
14
15       Dated:      January 21, 2014                                 /s/ Lawrence J. O’Neill
                                                                UNITED STATES DISTRICT JUDGE
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                          2
     ___________________________________________________________________________________________________________________
